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IN THE UNITED sTATEs DISTRICT cover "T|-EDEY__
FoR THE wEsTERN nIsTRIcT oF TENNESSEE
wEs'rERN DIvIsIoN USAUG _3 PH 3_ 29
WUMASM
DAvID FoucAuLT, et al., CLE':FKU§ ';\TM
esa

Plaintiffs,
vs.

Civ. NO. 04-2988-D[P

THE LASIK VfSION INSTITUTE,
et al.,

\.¢\_¢\_¢vvvvv-.rv

Defendants.

 

ORDER DENYING WITHOUT PREJUDICE PLAINTIFFS’ RULE 15 MOTION FOR
LEAVE OF COURT TO AMEND PLEADINGS

 

Before the court is Plaintiffs’ Rule 15 Motion for
Leave of Court to Amend Pleadings, filed August l, 2005 (dkt
#25). A review of the record reveals that the plaintiffs did not
file a certificate of consultation with their motion. Local Rule
7.2 requires that

“[a]ll motions . . . shall be accompanied by
a certificate of counsel . . . affirming
that, after consultation between the parties
to the controversy, they are unable to reach
an accord as to all issues or that all other
parties are in agreement with the action
requested by the motion." Local Rule
7.2(a)(l)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion." Id.

Therefore, plaintiffs’ motion is DENIED, without prejudice.

 
  

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witb.FluU 58 and/Or 79{3) FP.CP On

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The plaintiffs may renew their motion by refiling it with a
certificate of consultation in compliance with Local Rule 7.2.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02988 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

